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                                                       UNITED STATES DISTRICT COURT
                                                       WESTERN DISTRICT OF MICHIGAN
                                                            SOUTHERN DIVISION
                                                        _____________________________

GREGORIO CRUZ ORTIZ and JOEL
ALMARAZ DE LA CRUZ, on behalf of
themselves and others similarly situated,                                  Case No. 1:18-CV-560

              Plaintiffs,                                                  Hon. Janet T. Neff
v.

LORENZO WILLIAMS and MANZANA, LLC,

              Defendants.


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Benjamin O’Hearn (P79252)                                                Jacqueline M. Gordon (P79014)
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         DEFENDANTS’ ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT

              NOW COME Defendants, LAWRENCE WILLIAMS (“Williams,” misidentified as

“Lorenzo” in the caption of the Amended Complaint) and MANZANA, LLC (Manzana”), and for

their answer to Plaintiffs’ Amended Complaint, states as follows:




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                                                               NATURE OF THE CASE

              1.             This action is filed as a action and raises claims for violation of the civil RICO

statute, 18 U.S.C. 1962(c), and for breach of contract by and on behalf of approximately 230

migrant and seasonal farmworkers against Defendants Lawrence Williams (“Williams”) and

Manzana, LLC (“Manzana”). Defendants employed named Plaintiffs Gregorio Cruz Ortiz, and

Joel Almarez de la Cruz (“the named Plaintiffs”) and over two hundred similarly-situated

farmworkers brought to work in the United States under the federal H-2A program and

fraudulently promised to pay and failed to pay them for all hours worked.

ANSWER:                      Williams denies he employed Plaintiffs or other farmworkers or fraudulently

                             promised or failed to pay such persons for hours worked. Manzana admits it

                             employed Defendants for a brief period of time, and that it has employed other

                             persons as farmworkers; and denies it made any fraudulent promises or failed

                             to pay any worker for hours worked. Defendants neither admit nor deny any

                             other allegations for the reason that the Amended Complaint speaks for itself.



              2.             Plaintiffs’ claims are filed as a class action pursuant to Fed. R. Civ. P 23(b)(2) and

(b)(3) on behalf of all migrant and seasonal H-2A agricultural workers employed by Defendants

to harvest apples in Michigan during the period from approximately September 3, 2017 to

approximately October 13, 2017.

ANSWER:                      Defendants neither admit nor deny any allegations for the reason they are

                             conclusions of law and/or the Amended Complaint speaks for itself; but to the

                             extent further answer is required, the allegations are denied.




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                                                               JURISDICTION AND VENUE

              3.             At all relevant times, the named Plaintiffs and class members were H-2A seasonal

and migrant agricultural worker employed by Defendants to harvest apples in Michigan during the

period from approximately September 3, 2017 to approximately October 13, 2017.

ANSWER:                      Manzana admits Plaintiffs were H-2A seasonal and migrant workers

                             employed by Manzana between approximately September 3, 2017 and

                             October 13, 2017. Williams denies Plaintiffs were H-2A seasonal and migrant

                             workers employed by Williams between approximately September 3, 2017 and

                             October 13, 2017. Defendants neither admit nor deny any other allegations

                             for the reason that they either do not pertain to them or assert the status of

                             persons who are ostensibly members of an as yet nonexistent class and

                             therefore requires knowledge and information not available to Defendants.



              4.             Defendant Manzana is a Michigan corporation that operates as a farm labor

contractor, importing H-2A workers to supply workers to Michigan agricultural growers.

ANSWER:                      The allegations are denied as stated.



              5.             Defendant Manzana’s principal place of business is in the city of Grand Rapids,

Michigan, and is doing business in Kent County.

ANSWER:                      The allegations are admitted.



              6.             Defendant Williams owns and operates Manzana, LLC and personally controls its

operations.




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ANSWER:                      Defendants admit that Williams is the sole member of Manzana. Defendants

                             neither admit nor deny any other allegation for lack of information upon

                             which to form a belief as to its truth.



              7.             Upon information and belief, Defendant Williams is and was at all relevant times a

resident of the city of Grand Rapids, Kent County, Michigan.

ANSWER:                      Defendants admit that Williams resided in Grand Rapids, Michigan and Kent

                             County between September 3, 2017 and October 13, 2017. Defendants neither

                             admit nor deny any other allegation for lack of information upon which to

                             form a belief as to its truth.



              8.             Plaintiffs worked for Defendants in Kent County, Michigan.

ANSWER:                      Manzana admits Plaintiffs were employed by and performed work for it in

                             Kent County, Michigan. Williams denies the allegation as it pertains to him.



              9.             All or part of the cause of action arose in Kent County, Michigan.

ANSWER:                      The allegation is neither admitted nor denied for the reason that it is a legal

                             conclusion to which no response is required.



              10.            This Court has jurisdiction over Plaintiffs’ federal claims pursuant to 28 U.S.C. §

1331, 28 U.S.C. § 1337, and 18 U.S.C. §1964(c).

ANSWER:                      The allegation is neither admitted nor denied for the reason that it is a legal

                             conclusion to which no response is required.




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              11.            This Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant

to 28 U.S.C. §1367 because the state law claims are so interrelated to the federal claims as to

constitute one constitutional case.

ANSWER:                      The allegation is neither admitted nor denied for the reason that it is a legal

                             conclusion to which no response is required.



              12.            Venue is proper in this district pursuant to 28 U.S.C. §1391(b) because a Defendant

resides in this district and a substantial part of the events and omissions at issue took place in this

district.

ANSWER:                      Defendants do not contest venue.



                                                               FACTUAL ALLEGATIONS

              13.            Manzana LLC (hereinafter “Manzana”) is an organization whose primary business

is furnishing agricultural workers to agricultural employers.

ANSWER:                      The allegation is denied.



              14.            To accomplish this, Manzana utilizes federal laws which allows workers to be

brought to the United States from other countries. Plaintiffs will refer to this process as the “H-2A

Program.” See 8 U.S.C. §1101(a)(15)(H)(ii)(a).

ANSWER:                      Defendants admit that Manzana employs persons who enter and work in the

                             United States under so-called H-2A visas. Any other allegations are denied.




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                                                               The H-2A Program

              15.            The H-2A program requires all employers or contractors to try and find eligible

domestic workers to fill local labor demand.

ANSWER:                      Defendants admit that employers who wish to employ workers entering the

                             United States under an H-2A visa must first take steps to make the availability

                             of employment known to workers resident in the United States (sometimes

                             referred to as “domestic workers”), which steps and efforts are detailed in

                             various statutes, regulations and guidance. Defendants deny any allegation

                             inconsistent with the foregoing or the referenced statutes, regulations and

                             guidance.



              16.            To ensure that the H-2A program does not displace U.S. workers, H-2A employers

are required to pay an “adverse effect wage rate” (AEWR). The AEWR is set by state.

ANSWER:                      Defendants admit employers hiring H-2A workers are required to pay

                             workers a wage defined as the highest of: (1) the AEWR promulgated by the

                             United States Department of Labor; (2) the prevailing hourly wage or piece

                             rate wage; (3) an agreed-upon collective bargaining wage, if such an

                             agreement exists; or (4) the higher of the federal or state minimum wage in

                             effect at the time work subject to the provisions of the job order is performed.

                             Defendants deny the AEWR is set by the state. Defendants neither admit nor

                             deny that the purpose of the described requirement is as alleged for lack of

                             information upon which to form a belief as to its truth. Defendants deny any

                             other or inconsistent allegation.




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              17.            When these employers or contractors are unable to find “sufficient [domestic]

workers who are able, willing, and qualified, and who will be available at the time and place

needed,” the employers are eligible to bring in workers on an H-2A visa if they can demonstrate

that this will not adversely affect domestic workers. 8 U.S.C. § 1188(a)(1).

ANSWER:                      Defendants admit that Manzana may not employ persons entering the United

                             States under an H-2A visa if there are sufficient “domestic” workers who are

                             able, willing and qualified to perform the offered work at the stated wage

                             during the required period in the required location. Defendants deny any

                             allegations inconsistent with or in addition to the foregoing.



              18.            This process begins with submitting a job order on Form ETA-790.

ANSWER:                      Defendants admit that the process of securing authorization to employ persons

                             who enter the country under an H-2A visa requires submission of a form

                             issued by the United States Department of Labor identified as Form ETA-790,

                             and commonly called a “Clearance Order” or “job order.” Defendants deny

                             any allegations inconsistent with or in addition to the foregoing.



              19.            In submitting the Form ETA-790, the employer is makes [sic] representations about

the labor performed, the rate to be paid, and the anticipated number of hours that will be worked.

ANSWER:                      Defendants neither admit nor deny the allegations for the reason that they do

                             not accurately or completely describe the rules and regulations governing the

                             preparation of and performance under or the content of a Form ETA-790,

                             which speaks for itself. If and to the extent further response is required, the

                             allegations are denied.

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              20.            In submitting the Form ETA-790, the employer certifies that “This job order

describes the actual terms and conditions of the employment being offered by [the employer] and

contains all the material terms and conditions of the job.”

ANSWER:                      Defendants neither admit nor deny the allegations for the reason that the Form

                             ETA-790 speaks for itself and must be read in its entirety and in relation to

                             the rules and regulations governing its completion.



              21.            This Form ETA-790 becomes a part of the application the employer makes with

the National Processing Center.

ANSWER:                      Defendants admit that the Form ETA-790 is submitted to the United States

                             Department of Labor as part of an employer’s request for authorization to

                             employ workers who enter the United States under an H-2A visa and neither

                             admit nor deny any other allegation for lack of information upon which to

                             form a belief as to its truth.



              22.            This Form ETA-790 is given to the workers and effectively become the work

contract.

ANSWER:                      The allegations are neither admitted nor denied for the reason that they are

                             conclusions of law to which no response is required.



                                                 Manzana’s History with the H-2A Program

              23.            According to records publically available, Defendant Manzana has submitted at

least 16 job orders since January 2015.

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ANSWER:                      Manzana admits that it has submitted at least sixteen (16) Forms ETA-790

                             since January 2015 to the U.S. Department of Labor, and neither admits nor

                             denies any other allegations for lack of information upon which to form a belief

                             as to its truth.



              24.            These job orders have requested between 22 and 390 workers in each order, for a

total of 2,354 requested workers.

ANSWER:                      The allegation as stated is denied as untrue for the reason that “job orders” do

                             not “request workers” but authorization to hire and employ up to the

                             requested number of workers, and for the reason that the numbers stated are

                             inaccurate.



              25.            Prior to job order submitted on December 12, 2017 (Job Order No. 8356776), all

of the job orders except Job Order No. 7700699 and 7475465 included apple harvesting.

ANSWER:                      Admitted.



              26.            In each job order available through the U.S. Department of Labor Public Job

Registry, Defendant Manzana represented that it anticipates workers will work 36 hours per week.

ANSWER:                      Defendants admits, upon information and belief, that each of the described job

                             orders reflected Manzana’s estimate that workers would be provided 36 hours

                             of work per week and neither admit nor deny any other allegations for lack of

                             information upon which to form a belief as to its truth.




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              27.            Defendant Manzana is required to keep payroll records of number of hours worked

each day by each employee. 20 CFR 655.122(j)(1).

ANSWER:                      Defendants neither admit nor deny the allegations for the reason that they are

                             conclusions of law to which no response is required.



              28.            Defendant Manzana is required to keep these payroll records for 3 years. 20 CFR

655.122(j)(1).

ANSWER:                      Defendants neither admit nor deny the allegations for the reason that they are

                             conclusions of law to which no response is required.



              29.            Using these records, Defendants are able to accurately determine the anticipated

number of hours that will be worked each week to harvest apples.

ANSWER:                      Defendants admit that the payroll records allow Manzana to accurately

                             determine the number of hours worked by each hourly Manzana employee

                             each week for the period reflected. Defendants deny that the payroll records

                             allow Manzana to accurately predict the number of hours that will be worked

                             each week in the future. Defendants deny any other allegations.



                             Manzana’s History with Plaintiffs and Putative Class Members

              30.            Defendant Williams, directly or through his agents, recruited the named Plaintiffs

and class members in Mexico to work in Michigan, promising that Defendant Manzana would pay

them $12.75/hr. (the AEWR) for 36 hours of work per week – six (6) hours a day, Monday through

Saturday. PageID.20 and PageID.23.

ANSWER:                      Denied.

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              31.            These promises and inducements were false and fraudulent when made.

ANSWER:                      Denied.



              32.            These promises and inducements were made to each class member, up to 230

people, at the time of each one was recruited.

ANSWER:                      Denied.



              33.            These representations were also made to the Department of Labor on or around

June 7, 2017.

ANSWER:                      Denied.



              34.            Each of these false and fraudulent promises and inducements were made in

violation of 18 U.S.C. 1351, which states:

                             “Whoever knowingly and with intent to defraud recruits, solicits, or hires a person

                             outside the United States or causes another person to recruit, solicit, or hire a person

                             outside the United States, or attempts to do so, for purposes of employment in the

                             United States by means of materially false or fraudulent pretenses, representations

                             or promises regarding that employment shall be fined under this title or imprisoned

                             for not more than 5 years, or both.”

ANSWER:                      Denied.




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              35.            Each of the false promises and inducements made to the named Plaintiffs and class

members was a separate violation of 18 U.S.C. 1351 and together constituted a pattern of

racketeering activity.

ANSWER:                      Denied.



              36.            Defendant Manzana entered into written contracts with the named Plaintiffs and

class members promising that Defendant Manzana would pay them $12.75/hr., with an anticipated

36 hours of work per week.

ANSWER:                      The allegations are neither admitted nor denied for the reason that they are

                             legal conclusions to which no response is required; but if further response is

                             required, Defendants admit that workers hired under Job Order No. 8356776

                             were guaranteed an hourly wage of $12.75 and were advised that they were

                             assured of work or pay for a fractional portion of the anticipated hours

                             covered by the job order; and Defendants deny any other or inconsistent

                             allegations.



              37.            Despite the terms of the contracts made with the named Plaintiffs and class

members, Defendants worked the named Plaintiffs and class members approximately 75 hours per

week during the four weeks from approximately September 10, 2017 to approximately October 7,

2017.

ANSWER:                      Denied.




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              38.            Although the named Plaintiffs and class members worked approximately 75 hours

per week they were paid by Defendants for only approximately 55 hours of work per week,

bringing their hourly wage rate far below the promised $12.75/hour.

ANSWER:                      Denied.



              39.            In addition, throughout the course of their employment, the named Plaintiffs and

class members were required by Defendants to spend approximately twenty (20) minutes per day

riding on buses to and from the orchards where they worked without being paid for that time.

ANSWER:                      Defendants admit that workers employed by Manzana spend time on

                             employer-provided transportation commuting from their housing to their

                             work site and back on days that they work, aver that such time varies

                             depending upon traffic conditions and the distance between each particular

                             worker’s housing location and work site, and admits that this commuting time

                             is not compensable work time. Defendants deny any other or inconsistent

                             allegations.



              40.            Defendant Manzana was an enterprise, as that term is used in the civil RICO statute,

by which Defendant Williams personally profited through a pattern of racketeering activity.

ANSWER:                      Denied.



              41.            Defendant Williams conducted and participated in the affairs of the Manzana

enterprise through the pattern of racketeering activity in violation of the RICO statute, 18 U.S.C.

1962(c).

ANSWER:                      Denied.

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                                                          CLASS ACTION ALLEGATIONS

              42.            The named Plaintiffs bring Court [sic] I and II of this complaint as a class action

pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3) on behalf of themselves and all other workers

similarly situated.

ANSWER:                      The allegations are neither admitted nor denied for lack of information upon

                             which to form a belief as to their truth and for the reason that they are

                             conclusions of law to which no response is required.



              43.            The named Plaintiffs are members of the class they seek to represent.

ANSWER:                      The allegations are neither admitted nor denied for lack of information upon

                             which to form a belief as to their truth.



              44.            The class is so numerous that joinder of all class members is impracticable.

Defendants employed and subjected to these practices approximately 230 H-2A workers to harvest

apples during the period from approximately September 3, 2017 to approximately October 13,

2017.

ANSWER:                      Denied.



              45.            In addition, other circumstances make joinder of all class members impracticable.

Nearly all class members live in Mexico, speak only limited English, migrate away from their

permanent residences, and have limited access to counsel. The relatively small size of the

individual claims, the geographical dispersion of the class, and the indigency of class members




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would make maintenance of separate actions by each class member economically infeasible and

impractical.

ANSWER:                      The allegations are neither admitted nor denied for lack of information upon

                             which to form a belief as to their truth.



              46.            There are questions of fact and law common to the class that predominate over

questions affecting only individual members. Those common questions include: (a) whether

Defendants worked class members approximately 75 hours per week while paying them for only

55 hours per week, in violation of their contracts; and (b) whether Defendant Williams engaged in

a pattern of racketeering activity.

ANSWER:                      Denied.



              47.            The named Plaintiffs claims are typical of the claims of the class.

ANSWER:                      Denied.



              48.            The named Plaintiffs have the same interests as other class members and will

vigorously prosecute these interests on behalf of the class.

ANSWER:                      Denied.



              49.            Counsel hired by the named Plaintiffs have the resources, expertise, and experience

to prosecute this action on behalf of the class.

ANSWER:                      The allegations are neither admitted nor denied for lack of information upon

                             which to form a belief as to their truth.




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              50.            The maintenance of this action as a class action will be superior to other available

methods of adjudication in promoting the convenient administration of justice.

ANSWER:                      Denied.



              51.            The class action further satisfies the requirements of Fed. R. Civ. P. 23(b) in that:

                             a. (i) the prosecution of separate actions by or against individual members of the

                                    class would confront the party opposing the class with incompatible standards

                                    of conduct; and (ii) adjudications with respect to individual members of the

                                    class would as a practical matter be dispositive of the interests of other members

                                    not parties to the adjudications or substantially impair or impede their ability to

                                    protect their interests;

ANSWER:                      Denied.



                             b. final equitable or declaratory relief might be appropriate with respect to the

                                    class;

ANSWER:                      Denied.



                             c. the action will be manageable as a class. Defendants are required by law to

                                    maintain records concerning each class member and any individualized

                                    damages determinations would be based on common mathematical formulas

                                    avoiding any manageability issue;

ANSWER:                      Denied.




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                             d. the separate claims of individual class members are insufficient to support

                                    separate actions, in view of the complexity of the issues or the expense of the

                                    litigation;

ANSWER:                      Denied.



                             e. it is probable that the amount which may be recovered by individual class

                                    members will be large enough in relation to the expense and effort of

                                    administering the action to justify a class action; and

ANSWER:                      Denied.



                             f. class members do not have a significant interest in controlling the prosecution

                                    or defense of separate actions.     Among other impediments to proceeding

                                    separately, nearly all class members are unaware of their rights to prosecute

                                    these claims and lack the means or resources to secure legal assistance.

ANSWER:                      Denied.



              52.            Class members and Defendants have not settled the claims asserted in this

Complaint.

ANSWER:                      The allegations are neither admitted nor denied for lack of information upon

                             which to form a belief as to their truth.




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                                                               COUNT I

              Violation of civil RICO statute, 18 U.S.C. 1962(c), against Defendant Williams

              53.             The named Plaintiffs re-allege and incorporate the allegations set forth above as if

fully set forth herein.

ANSWER:                      Defendants reassert and incorporate by reference their answers as set forth

                             above.



              54.            As the owner of Manzana, LLC, Defendant Williams formed an association-in-fact

with Manzana, LLC, which will be referred to as the “Manzana enterprise” [sic]

ANSWER:                      Denied.



              55.            This count is brought against Defendant Williams pursuant to the civil RICO

statute, 18 U.S.C. 1962(c) on behalf of the named Plaintiffs and the class of all migrant and

seasonal H-2A agricultural workers employed by Defendants to harvest apples in Michigan during

the period from approximately September 3, 2017 to approximately October 13, 2017.

ANSWER:                      The allegations are neither admitted nor denied for lack of information upon

                             which to form a belief as to their truth.



              56.            Defendant Williams violated RICO by violating 18 U.S.C. 1962(c).

ANSWER:                      Denied.



              57.            Defendant Williams engaged in the fraudulent acts and misrepresentations

described above through a pattern of racketeering activity in violation of 18 U.S.C. 1351.

ANSWER:                      Denied.

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              58.            Defendant Williams, through the entity Manzana LLC, stated that workers would

make $12.75 an hour.

ANSWER:                      Defendants admit that Manzana agreed to pay workers under the previously

                             specified Job Order $12.75 per hour worked and deny any other allegations.



              59.            Upon information and belief, Defendant Williams knew that the statement provided

about the $12.75 an hour pay was false.

ANSWER:                      Denied.



              60.            Defendant Williams, through the entity Manzana LLC, stated that workers would

be working for 36 hours a week.

ANSWER:                      Denied.



              61.            Defendant Williams knew that the information provided about the 36 hours a week

of work was false.

ANSWER:                      Denied.



              62.            Defendant Williams made these statements to recruit workers in a foreign country.

ANSWER:                      Denied.



              63.            Defendant Manzana was the entity that made these statements to the Department of

Labor through the “Agricultural and Food Processing Clearance Order ETA Form 790”, attached

as Exhibit 1.

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ANSWER:                      Defendants admit that Manzana caused the referenced job order to be

                             prepared and filed with the U.S. Department of Labor and denies any other

                             allegations.



              64.            A copy of this agreement was provided to each Plaintiff and each class members

before they left their home country/countries.

ANSWER:                      Defendants admit upon information and belief that each H-2A worker was

                             provided a copy of the job order before entering the United States to begin

                             employment pursuant to the job order, aver upon information and belief that

                             some workers first received or reviewed the job order while in the United

                             States, and deny any allegations in addition to or inconsistent with the

                             foregoing.



              65.            The Manzana enterprise has made these statements before (see Exhibit 2, 2015 ETA

Form 790), and continues to do so presently (see Exhibit 3, 2018 ETA Form 790).

ANSWER:                      Denied.



              66.            Defendant Williams knew and knows these statements to be false.

ANSWER:                      Denied.



              67.            In making these statements, Defendant Williams intended to defraud workers so

that:

                             a.             Workers who otherwise would not take jobs working 75 hours a week

                                            would take these jobs,

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ANSWER:                      Denied.



                             b.             Workers who otherwise would not work for less than the adverse wage rate

                                            ($12.75/hour) would take these jobs,

ANSWER:                      Denied.



                             c.             The Department of Labor would certify these jobs, and/or

ANSWER:                      Denied.



                             d.             To remove or injure worker protections such as the 3/4ths guarantee. See

                                            20 CFR 655.122 (i).

ANSWER:                      Denied.



              68.            In submitting the Form 790, Manzana, LLC “maintain[ed] full responsibility for

the truthfulness of all documents submitted [by counsel].”

ANSWER:                      Defendants neither admit nor deny the allegations for the reason that “Form

                             790” is an unclear reference; but if intended to refer to the Job Order

                             submitted under which Plaintiffs were able to work in the United States for

                             Manzana, the Job Order speaks for itself and must be read in its entirety and

                             in relation to the rules and regulations governing its completion and

                             Defendants deny any allegation inconsistent therewith.



              69.            These repeated false statements constitute a pattern.

ANSWER:                      Denied.

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              70.            By conducting the Manzana enterprise through a pattern of racketeering, Defendant

Williams injured the named Plaintiffs and members of the class.

ANSWER:                      Denied.



              71.            Because of his ownership of Manzana, LLC, Defendant Williams has personally

profited from the fraudulent scheme.

ANSWER:                      Denied.



              72.            Plaintiffs’ allegations in ¶¶ 59 and 61 (about Defendants knowingly making false

statements) can be supported through Defendants’ records of past work. Specifically, the files that

Defendant was required to keep for the following jobs filled through the H-2A program:

                                                           Job Posting    Job Registry   Job Order   Job description
                 ETA Case Number
                                                              Date         Record ID      Number        includes:
             H-300-16351-066284                           12/28/2016        103529       7390000     Apple Harvesting

             H-300-16351-039265                           12/28/2016        103527       7389966     Apple Harvesting

             H-300-16158-129203                            6/13/2016        96907        6866197     Apple Harvesting

             H-300-16022-364298                                2/3/2016     88476        6498732     Apple Harvesting

             H-300-15355-929379                            1/12/2016        86355        6444447     Apple Harvesting

             H-300-15161-862190                            6/25/2015        80666        5928648     Apple Harvesting

             H-300-15034-554957                            2/11/2015        74692        5593123     Apple Harvesting


ANSWER:                      Denied.



              73.            These evidence [sic] that supports Plaintiffs’ RICO claims are peculiarly within

Defendants’ control.

ANSWER:                      Denied.




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              74.            Among other things, each of these RICO violations caused the Plaintiffs and

members of the class to suffer loss of wages and spend time working for which they were not paid.

ANSWER:                      Denied.



              75.            As a result, the named Plaintiffs and class members suffered injuries and are

entitled to treble damages, fees, and costs as set forth by law.

ANSWER:                      Denied.



                                                               COUNT II

                                      Breach of contract action against Defendant Manzana

              76.            The named Plaintiffs reallege and incorporate the allegations set forth above as if

fully set forth herein.

ANSWER:                      Defendants reassert and incorporate by reference their answers as set forth

                             above.



              77.            By taking the actions described herein, Defendant Manzana breached its contracts

with the named Plaintiffs and members of the class.

ANSWER:                      Denied.



              78.            As a result of Defendant Manzana’s breach of contract, the named Plaintiffs and

class members worked hours for which they were not paid and were paid at rates well below the

promised $12.75/hr.

ANSWER:                      Denied.




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              79.            As a result, the named Plaintiffs and class members are entitled to damages for the

time worked for which they were not paid.

ANSWER:                      Denied.



                                                               PRAYER FOR RELIEF

              The named Plaintiffs request an order for the following relief, on behalf of themselves and

the class they represent:

              1.             Certifying this case as a class action in accordance with Fed. R. Civ. P. 23(b)(2)

and (b)(3) with respect to the claims set forth in Counts I and II;

              2.              Granting judgment in favor of the named Plaintiffs and class members and against

Defendant Williams on the RICO claims set forth in Count I, and awarding unpaid wages,

multiplied times three for treble damages;

              3.             Granting judgment in favor of the named Plaintiffs and class members and against

Defendant Manzana on the breach of contract claims set forth in Count II, and awarding damages

equal to their unpaid wages;

              4.             Granting judgment in favor of the named Plaintiffs and class members and against

Defendant Williams on the RICO claims set forth in Count I, and awarding unpaid wages,

multiplied times three for treble damages;

              5.             Awarding the named Plaintiffs and class members the costs of this action;

              6.             Awarding the named Plaintiffs and class members reasonable attorneys’ fees and

litigation costs and expenses, including expert witness fees, pursuant to RICO;

              7.             Ordering all other relief that the Court deems just and proper.

ANSWER:                      Defendants deny that Plaintiffs are entitled to any of the requested relief or

                             certifications and request that the entire action be dismissed with prejudice

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                             and with an award in favor of Defendants for attorney fees, costs and such

                             additional and other relief as the Court may determine.


                                                               AFFIRMATIVE DEFENSES

              Defendant assert the following as affirmative defenses in this matter:

              1.             The Amended Complaint fails in whole or in part to state a claim upon which relief

may be granted.

              2.             Plaintiffs are not suitable or appropriate representatives of the putative class.

              3.             Plaintiffs’ claims, to the extent they assert injury based upon work in excess of 36

hours in a week for which they were paid, are barred by accord and satisfaction, estoppel, waiver,

laches, unclean hands, and/or payment.

              4.             Plaintiffs’ claims are barred by consent, ratification, and release.

              5.             Plaintiffs has not suffered an actual injury or incurred compensable damage.

              6.             Defendants acted in good faith.

              7.             Plaintiffs’ claims fail due to Defendants’ complete performance of the alleged

contract.

              8.             Defendants have not engaged in any criminal activities.

              9.             Plaintiffs’ claims fail as there is no enterprise existing independently from

Defendants’ commercial activity, nor one operating or functioning distinct from the Defendants

themselves.

              10.            Defendants did not function as a “continuing unit” for purposes of RICO.

              11.            Plaintiffs’ claims fail because Defendants were engaged in a lawful commercial

activity.




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              12.            Defendants reserve the right to amend and add additional affirmative defenses as

they are discovered.

                                                               Respectfully submitted,

                                                               RHOADES McKEE PC
                                                               Attorneys for Defendants

Dated: June 29, 2018
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